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                   EXHIBIT D
        Case 2:23-cv-11634-NGE-APP ECF No. 14-5, PageID.90 Filed 08/01/23 Page 2 of 2




From:                  Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>
Sent:                  Thursday, July 27, 2023 2:05 PM
To:                    Clinton Mikel; Adrienne Dresevic; Jonathan Messina
Cc:                    Deborah Gordon; Molly Savage; Sarah Gordon Thomas
Subject:               Re: Pensler et al /Request for extension



   You don't often get email from emt@deborahgordonlaw.com. Learn why this is important

Hi Clinton,
Our office does not provide 45‐day extensions for the purpose of an answer, as doing so would create a disadvantage to
our client. As I explained previously, we would agree to a one‐week extension as a professional courtesy.

Your clients were served with the amended complaint by mail on July 25.

Regards,

EMT

From: Clinton Mikel <CMikel@thehlp.com>
Sent: Wednesday, July 26, 2023 4:49 PM
To: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Adrienne Dresevic <ADresevic@thehlp.com>; Deborah
Gordon <dgordon@deborahgordonlaw.com>
Cc: Sarah Gordon Thomas <sthomas@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>;
Jonathan Messina <jmessina@thehlp.com>; Clinton Mikel <CMikel@thehlp.com>
Subject: RE: Pensler et al /Request for extension

Hi, Elizabeth,
I’m perplexed by your refusal to grant a first request for an extension of time of more than a week (we requested 45
days). I am optimistic it is a misunderstanding – it would be rare that we encounter a refusal to grant professional
courtesies. I note our firm has worked cooperatively with yours in the lead-up to your filing (FYI -- your firm told us you
were sending a settlement demand – did we miss that?).

Under FRCP 15, “a party shall plead in response to an amended pleading within the time remaining for response to the
original pleading or within 10 days after service of the amended pleading, whichever period may be the longer.” We are
not aware of any actual service of the Amended Complaint. Are you contending that your email to us is service or that
service has been made in some other way? Please advise.

Even if the Amended Complaint has been served (or that we would accept service), that would require responses on
the original response dates. We would accept service via email in exchange for a requested adjournment of our
response. At minimum, we are asking that you grant an adjournment of 45 days from August 8, 2023, and make the
response for all Defendants due on September 23, 2023.

We normally don’t need to do this -- but, to flesh out why we need an adjournment: (1) I am working on this matter,
and I/Adrienne and our associate Jonathan have a busy client docket (transactional and litigation); (2) we have multiple
pre-planned vacations; (3) we have summertime camp/childcare logistics; (4) we have out-of-town cases and work travel;
(5) you have named five defendants (two individuals and three entities, with associated d/b/a’s) – we still don’t have a
clear plan as to whether we are providing joint representation, or if we are representing the individually named
defendants; and (6) we still need to evaluate changes to your First Amended Complaint, internally and with the client.
September 23, 2023, takes us out of summer, and back to kids-in-school.

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